         Case 8-15-71074-reg             Doc 740        Filed 08/26/16         Entered 08/26/16 13:12:35




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re:

FEDERATION EMPLOYMENT AND GUIDANCE                                          Chapter 11
SERVICE, INC. d/b/a FEGS,1                                                  Case No. 15-71074 (REG)

                           Debtor.
---------------------------------------------------------------x

    STIPULATION BY AND AMONG THE DEBTOR, THE OFFICIAL COMMITTEE OF
    UNSECURED CREDITORS, AND THE UNITED STATES TRUSTEE TO INCREASE
    THE DE MINIMIS SALE LIMIT WITH RESPECT TO A CERTAIN TRANSACTION

           Federation Employment and Guidance Service, Inc. d/b/a FEGS (“FEGS” or the

“Debtor”), the Official Committee of Unsecured Creditors (the “Committee”), and the Office of

the United States Trustee (the “UST”, and together with the Debtor and the Committee, the

“Parties” and each a “Party”) by their respective undersigned counsel, hereby stipulate and agree

as follows:


           WHEREAS, on March 18, 2015 (the “Petition Date”), the Debtor commenced the above

captioned case under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”),


           WHEREAS, since the Petition Date, the Debtor has remained in possession of its assets

as a debtor-in-possession pursuant to 11 U.S.C. §§ 1107 and 1108.


           WHEREAS, on March 31, 2015 [Docket No. 105], the Committee was appointed in this

case.


           WHEREAS, on October 2, 2015 the Debtor filed a Motion for an Order under 11 U.S.C.

§§ 363 and 544 Approving Procedures to (I) Sell Certain De Minimis Assets Free and Clear of

Liens, Claims, and Encumbrances Without Further Court Approval (II) Authorizing the Debtor

1
    The last four digits of the Debtor’s federal tax identification number are 4000.


4021800v.3
             Case 8-15-71074-reg        Doc 740     Filed 08/26/16       Entered 08/26/16 13:12:35




        to Pay Commissions in Connection with any De Minimis Asset Sales (III) To Abandon Certain

        De Minimis Assets (the “De Minimis Procedures Motion”) [Docket No. 519].


               WHEREAS, on October 23, 2015, the Court entered an Order approving the De Minimis

        Procedures Motion (the “De Minimis Procedures Order”) [Docket No. 539].


               WHEREAS, the De Minimis Procedures Order authorizes the Debtor to consummate the

        sale of assets with a total purchase price not to exceed $50,000.00 (the “$50,000.00 Limitation”),

        pursuant to certain procedures set forth in the De Minimis Procedures Order, upon notice, but

        without further order, authorization, or approval from the Court.


               WHEREAS, on August 12, 2016, the Debtor filed a Notice of Proposed Sale of De

        Minimis Assets Pursuant to De Minimis Asset Sale Procedures [Docket No. 733] which seeks to

        consummate the sale of certain assets (the “Assets”) with a total purchase price exceeding the

        $50,000.00 Limitation, subject to entry of this Stipulation (the “Proposed Sale”).


               WHEREAS, the Proposed Sale seeks to sell certain of the Debtor’s equipment to System

        Liquidators, Inc. for a total purchase price of $85,820.00 pursuant to a quote provided by System

        Liquidators, Inc. which expires on August 31, 2016 (the “Expiration Date”).


               WHEREAS, pursuant to the De Minimis Procedures Order, the Proposed Sale is subject

        to higher bids and objections during the 14-day notice period.


               WHEREAS, the Court has jurisdiction over the matters covered by this Stipulation

        pursuant to 28 U.S.C. §§ 157 and 1334, venue is proper with this Court pursuant to 28 U.S.C. §

        1409, and this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).




                                                        2
4021800v.3
             Case 8-15-71074-reg         Doc 740       Filed 08/26/16   Entered 08/26/16 13:12:35




               WHEREAS, in entering into this Stipulation the Parties seek to consummate the

        Proposed Sale before the Expiration Date to maximize the value of the Assets while minimizing

        the costs associated with the Proposed Sale.


               IT IS THEREFORE STIPULATED, AGREED AND ORDERED as follows:

               1.      The recitals set forth above are a material part of this Stipulation and are

        incorporated herein by reference.


               2.      Upon approval of this Stipulation by the Court, the $50,000.00 Limitation in the

        De Minimis Sale Order shall not apply to the Proposed Sale and, upon expiration of the 14-day

        notice period for such sale (i.e. August 26, 2016), the Debtor may consummate the Proposed

        Sale without further Order of the Court.


               3.      The De Minimis Procedures Order, including the $50,000.00 Limitation, shall

        apply to any further sale the Debtor seeks to consummate, unless otherwise authorized by an

        Order of the Court.


               4.      Notwithstanding any applicable provision of the Bankruptcy Code, the Federal

        Rules of Bankruptcy Procedure, or Local Bankruptcy Rules for the Eastern District of New

        York, the terms of this Stipulation shall be effective immediately upon entry.


               5.      The Court shall retain exclusive jurisdiction to interpret, implement, and enforce

        the provisions of this Stipulation.


               6.      This Stipulation may be executed in multiple counterparts, each of which shall be

        deemed an original, but all of which together shall constitute one and the same instrument.

        Further, evidence of execution of this Stipulation may be exchanged by facsimile or by


                                                          3
4021800v.3
             Case 8-15-71074-reg        Doc 740     Filed 08/26/16     Entered 08/26/16 13:12:35




        electronic transmission of a scanned copy of the signature pages or by exchange of an originally

        signed document, each of which shall be as fully binding on the party as a signed original.


                                      SIGNATURE PAGE TO FOLLOW




                                                        4
4021800v.3
                Case 8-15-71074-reg     Doc 740      Filed 08/26/16   Entered 08/26/16 13:12:35




                  IN WITNESS WHEREOF, the Parties have executed this Stipulation as of the dates

        noted below.


        Dated: August 18, 2016                               Dated: August 18, 2016

        OFFICE OF THE UNITED STATES TRUSTEE                  PACHULSKI STANG ZIEHL & JONES LLP

         /s/ Alfred M. Dimino                                /s/ Ilan D. Scharf
        Alfred M. Dimino                                     Ilan D. Scharf
        Alfonse D’Amato Federal Courthouse                   Robert J. Feinstein
        560 Federal Plaza                                    780 3rd Ave, 36th Floor
        Central Islip, NY 11722                              New York, NY 10017
        Telephone: (631) 715-7800                            Telephone: (212) 561-7700
        Email: Al.M.Dimino@usdoj.gov                         Email: ischarf@pszjllaw.com

        Trial Attorney for the Office of the United States   Attorneys for the Official Committee of
        Trustee – Region 2                                   Unsecured Creditors



        Dated: August 18, 2016

        GARFUNKEL WILD, P.C.
        /s/ Burton S. Weston
        Burton S. Weston
        Adam T. Berkowitz
        Phillip Khezri
        111 Great Neck Road
        Great Neck, NY 11021
        Telephone: (516) 393-2200
        Email: bweston@garfunkelwild.com

        Counsel for the Debtor and Debtor-in-Possession




                                                                      ____________________________
             Dated: Central Islip, New York                                Robert E. Grossman
                    August 26, 2016                                   United States Bankruptcy Judge
                                                         5
4021800v.3
